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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                             Case No. 09-22992-CIV-UNGARO
 GUSTAVO SAMPAIO,

        Plaintiff,

 v.

 NATIONAL ENTERPRISE SYSTEMS, INC.,

        Defendant.
                                                /

                         ADMINISTRATIVE ORDER CLOSING CASE

        THIS CAUSE is before the Court sua sponte.

        THE COURT is fully advised in the premises. Accordingly, it is hereby

        ORDERED AND ADJUDGED that for administrative purposes this case is hereby

 CLOSED. It is further

        ORDERED AND ADJUDGED that all pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Chambers at Miami, Florida, this 24th day of June, 2010.




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                                           URSULA UNGARO
                                           UNITED STATES DISTRICT JUDGE

 copies provided: counsel of record
